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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


BENJAMIN MILLER

       Plaintiff,

vs.                                                               Docket No. CT-001989-17
                                                                             Div. IV
TIGER STYLE CORPORATION, doing
business as SPEED 1 TRANSPORT,
HARMAN DEEP SINGH BRAR, COX
TRANSPORTATION SERVICES, INC.,
ROGER CAUSEY,

      Defendants.
______________________________________________________________________________

KRISTI ROSE,

       Third-Party Plaintiff,

v.

TIGER STYLE CORPORATION, doing
business as SPEED 1 TRANSPORT,
HARMAN DEEP SINGH BRAR, COX
TRANSPORTATION SERVICES, INC., and
ROGER CAUSEY,

      Defendants.
______________________________________________________________________________

                         JOINT NOTICE OF REMOVAL
______________________________________________________________________________

TO THE HONORABLE JUDGES IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE:

       COME NOW the Defendants, Cox Transportation Services, Inc., Roger Causey, Tiger

Style Corporation doing business as Speed 1 Transport, and Harman Deep Singh Brar

(“Defendants”), and respectfully aver as follows:
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        1.     On May 4, 2017, Benjamin Miller (“Plaintiff”) commenced a civil action against

Defendants in the Circuit Court for Shelby County, Tennessee. Copies of Plaintiff’s Complaint

and Summons, are attached hereto collectively as Exhibit A.

        2.     The Complaint, being the original process in this case, was first received by

Defendants no earlier than May 24, 2017.

        3.     This personal-injury lawsuit arises out of an automobile accident alleged to have

occurred in Shelby County, Tennessee. Ex. A, Am. Compl. at ¶ 8.

        4.     Plaintiff seeks damages in an amount exceeding the sum or value of $75,000.00.

        5.     At all times material hereto, Plaintiff was and is a resident of the State of Texas.

Id. at ¶ 1.

        6.     At all times material hereto, Third-Party Plaintiff, Kristi Rose (“Rose”), was and

is a resident of the State of Texas.1

        7.     At all times material hereto, Defendant, Cox Transportation Services, Inc. was

and is a Virginia corporation. Id. at ¶ 4.

        8.     At all times material hereto, Defendant, Roger Causey, was a resident of North

Carolina. Id.at ¶ 5. Defendant Roger Causey, has passed since the filing of the original

Complaint. See Suggestion of Death at Exhibit B.

        9.     At all times material hereto, Defendant, Tiger Style Corporation, doing business

as Speed 1 Transport (“Tiger Style”), was and is an Ohio corporation. Ex. A., Am. Compl. at ¶2.




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  Rose was previously a Co-Defendant/Cross-Plaintiff in the present action. On April 9, 2018,
the state court entered an Order Granting Voluntary Dismissal without Prejudice of the Claims
being Asserted herein by Plaintiff Ben Miller against Defendant Kristi Rose Only (“Order
Granting Plaintiff’s Non-Suit Against Rose”), dismissing Miller’s claims against Rose only.
Copy of Miller’s Order is attached hereto as Exhibit C. Rose’s cross-complaint against these
Defendants now persists as a third-party complaint.


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         10.   At all times material hereto, Defendant Harman Deep Singh Brar was and is a

resident of the state of Ohio.

         11.   Diversity of citizenship within the meaning of 28 U.S.C. § 1332 exists in this case

since:

               (a)     Plaintiff Benjamin Miller is a citizen of the state of Texas;

               (b)     Third-Party Plaintiff Kristi Rose is a citizen of the state of Texas;

               (c)     Defendant Cox Transportation Services, Inc. is a citizen of the state of
Virginia;

               (d)     Defendant Roger Causey was a resident of the state of North Carolina.

               (e)     Defendant Tiger Style is a citizen of the state of Ohio;

               (f)     Defendant Harman Deep Singh Brar is a resident of the state of Ohio;

         12.   Diversity of citizenship existed at the time the state Court entered Order Granting

Non-Suit Against Rose and continues through the time of filing of this notice, such that

Defendants are entitled to removal pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446.

         13.   Additionally, jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332

since, based on Rose’s prayer for relief for two million dollars ($2,000,000.00), the amount in

controversy exceeds the sum of $75,000.00.

         14.   Defendants desire to remove the above-captioned action, now pending in the

Circuit Court of Shelby County, Tennessee, to this Honorable Court pursuant to 28 U.S.C. §

1446.

         WHEREFORE, Defendants, Cox Transportation Services, Inc., Roger Causey, Tiger

Style Corporation doing business as Speed 1 Transport, and Harman Deep Singh Brar, pray that

the above-captioned action, now pending in the Circuit Court Shelby County, Tennessee, be

removed to this Honorable Court.



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                                             Respectfully submitted,

                                             s/Lee L. Piovarcy
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                                             Attorney for Defendant, Tiger Style Corporation

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice was
served upon the below-listed counsel this 24th day of April, 2018, via First-Class U.S. Mail,
postage prepaid:


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                                                       s/Lee L. Piovarcy
                                                       Lee L. Piovarcy



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